Scott v. Experian Information Solutions, Inc., Slip Copy (2018)




                                                                  Plaintiff is a resident of Broward County, Florida. (See Am.
                2018 WL 3360754                                   Compl. ¶ 3). Defendants, along with their subsidiaries,
  Only the Westlaw citation is currently available.               affiliates, and partners, operate as consumer reporting
    United States District Court, S.D. Florida.                   agencies (“CRAs”). (See id. ¶¶ 6, 15). As CRAs,
                                                                  Defendants sell consumer information in consumer files to
         James W. SCOTT, Plaintiff,                               third parties. (See id. ¶¶ 11, 16). Trans Union, for example,
                      v.                                          sells consumers’ criminal histories, employment, and
  EXPERIAN INFORMATION SOLUTIONS, INC.,                           landlord-tenant information to third parties. (See id. ¶ 16).
             et al., Defendants.
                                                                  Equifax, too, operates as a seller of credit report
     CASE NO. 18-CV-60178-ALTONAGA/Seltzer                        information. (See id. ¶¶ 7–8). Equifax and EIS “freely
                         |                                        transfer communications from consumers, as well as
                Signed 06/29/2018                                 consumer information and data based on consumer
                                                                  information and communications, between the entities for
                                                                  commercial purposes without restriction.” (Id. ¶ 9).
Attorneys and Law Firms                                           Equifax and EIS use the same “Equifax” logo, which
                                                                  prevents consumers from differentiating between the
James W. Scott, Deerfield Beach, FL, pro se.                      entities. (See id. ¶ 10). Furthermore, EIS’s management
                                                                  decisions are made through Equifax. (See id. ¶ 11). Thus,
Erika Stephanie Whyte, Jones Day, Franklin Gordon
                                                                  the two companies “hold themselves out as a single
Cosmen, Jr., Quintairos Prieto Wood & Boyer P.A.,
                                                                  uniform business entity.” (Id.).
Miami, FL, John Anthony Love, King & Spalding, Atlanta,
GA, for Defendants.
                                                                  After the recent hack of Equifax’s database, Plaintiff has
                                                                  “reason to believe that there was more information to be
                                                                  had than what he ever received from a conventional credit
                                                                  report in the past.” (Id. ¶ 36). In September 2017, Plaintiff
                                                                  sent a letter to Defendants, requesting his full consumer file
                                                                  disclosure. (See id. ¶ 19; see also id. Ex. 1, Full File
                                                                  Disclosure Request pursuant to                15 U.S.C. §
                                                                  1681(g)(a)(1) 15–172). Defendants received Plaintiff’s
                         ORDER                                    requests on September 20, 2017. (See id. ¶¶ 22, 24).
                                                                  Plaintiff’s request for a disclosure was his first in 12
                                                                  months. (See id. ¶ 27). Plaintiff attached copies of his social
CECILIA M. ALTONAGA,                 UNITED       STATES
                                                                  security card and current state driver’s license to his
DISTRICT JUDGE
                                                                  request. (See id.). In response, Defendants returned copies
*1 THIS CAUSE came before the Court upon Defendants,              of his credit report, which was not responsive to Plaintiff’s
Equifax, Inc., Equifax Information Services LLC (“EIS”),          requests for his full consumer file disclosure. (See id. ¶¶ 23,
and Trans Union LLC’s Combined Motion to Dismiss                  25).
[ECF No. 46], filed on May 3, 2018.1 Plaintiff, James W.
Scott, filed a Response [ECF No. 47] on May 15, 2018, to          *2 Plaintiff then requested his consumer file disclosure
which Defendants filed a Reply [ECF No. 48] on May 22,            from Defendants for a second and final time. (See id. ¶ 28;
2018. The Court has carefully considered the Amended              see also id. Ex. 2, Final Request Pursuant to       15 U.S.C.
Complaint [ECF No. 37], the parties’ written submissions,         § 1681g(a)(1) 19– 21). Plaintiff attached copies of his
the record, and applicable law. For the reasons that follow,      initial request and his social security card and driver’s
the Motion is granted.                                            license as identification in his second set of requests. (See
                                                                  id. ¶ 28). Defendants again sent Plaintiff a copy of his credit
                                                                  report. (See id. ¶¶ 31–32). In response to Plaintiff’s request
                                                                  to Equifax, Plaintiff received a letter from “Equifax,”
                                                                  thanking Plaintiff for “requesting [his] credit file,
                                                                  commonly called a Consumer Credit Report.” (Resp. Ex. 2
                   I. BACKGROUND                                  (alteration added); see also Am. Compl. ¶¶ 23, 31).3


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In both requests, Plaintiff asked for his “full consumer file                     II. LEGAL STANDARD
disclosure,” rather than a “conventional credit report as he
had done in the past.” (Am. Compl. ¶ 36). Plaintiff “did not      “To survive a motion to dismiss [under Rule 12(b)(6) ], a
request a credit report, credit disclosure, or anything else      complaint must contain sufficient factual matter, accepted
using the words ‘credit’ or ‘report’ in any manner....” (Id.      as true, to ‘state a claim to relief that is plausible on its
¶ 37 (alteration added) ). Yet, Defendants never sent             face.’ ”     Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
Plaintiff his full consumer file disclosures. (See id. ¶ 48).
                                                                  (alteration added) (quoting     Bell Atl. Corp. v. Twombly,
                                                                  550 U.S. 544, 570 (2007) ). Although this pleading
Plaintiff asserts upon information and belief that the
                                                                  standard “does not require ‘detailed factual allegations,’ ...
following information is missing from Defendants’
                                                                  it demands more than an unadorned, the-defendant-
responses to his requests: (1) “substantial information
                                                                  unlawfully-harmed-me accusation.” Id. (alteration added)
relating to [ ] Plaintiff that is contained in all Defendants’
files that has not been disclosed to him” (id. ¶ 38 (alteration   (quoting      Twombly, 550 U.S. at 555). Pleadings must
added) ); (2) “information that is not disclosed to Plaintiff     contain “more than labels and conclusions, and a formulaic
contain[ing] negative codes among other things that are           recitation of the elements of a cause of action will not
provided to prospective creditors, insurers or employers”         do....”    Twombly, 550 U.S. at 555 (citation omitted).
(id. ¶ 39 (alteration added) ); and (3) “far more information
relating to Plaintiff in their files and databases including      To meet this “plausibility standard,” a plaintiff must
archived information” (id. ¶ 41).                                 “plead[ ] factual content that allows the court to draw the
                                                                  reasonable inference that the defendant is liable for the
In short, Plaintiff has been unable to access all information     misconduct alleged.”      Iqbal, 556 U.S. at 678 (alteration
in his full consumer file which “may have been at some
time in the past provided to an unknown third party or            added) (citing     Twombly, 550 U.S. at 556). “The mere
MIGHT be provided at some time in the future to a third           possibility the defendant acted unlawfully is insufficient to
party and he is entitled by law to review and have access to      survive a motion to dismiss.”     Sinaltrainal v. Coca-Cola
for accuracy.” (Id. ¶ 43 (emphasis in original) ). According      Co., 578 F.3d 1252, 1261 (11th Cir. 2009) (citation
to Plaintiff, “[o]ne can only surmise” the information            omitted), abrogated on other grounds by Mohamad v.
Defendants share with third parties “obviously must               Palestinian Auth., 566 U.S. 449 (2012).
contain information that the consumer has never seen and
the consumer reporting agencies don’t want him or her to          On a motion to dismiss, a court construes the complaint in
see for some unknown reason.” (Id. ¶ 47 (alteration added)        the light most favorable to the plaintiff and accepts its
).                                                                factual allegations as true. See     Brooks v. Blue Cross &
                                                                  Blue Shield of Fla., Inc., 116 F.3d 1364, 1369 (11th Cir.
*3 Plaintiff asserts Defendants all operate as CRAs and           1997) (citing SEC v. ESM Grp., Inc., 835 F.2d 270, 272
should be regulated by       15 U.S.C. section 1681, the          (11th Cir. 1988) ). Unsupported allegations and
FCRA. (See id. ¶¶ 6, 14, 15). As relevant against the             conclusions of law, however, will not benefit from this
Defendants, Plaintiff also alleges Trans Union (Count II)         favorable reading. See       Iqbal, 556 U.S. at 679 (“While
(see id. ¶¶ 55–58), Equifax and EIS (Count III) (see id. ¶¶       legal conclusions can provide the framework of a
59–62), violated the FCRA by failing to provide Plaintiff’s       complaint, they must be supported by factual
full consumer file disclosures. Plaintiff seeks statutory
                                                                  allegations.”); see also      Sinaltrainal, 578 F.3d at 1260
damages of $1,000.00, attorney’s fees, and costs from each
                                                                  (“[U]nwarranted deductions of fact in a complaint are not
Defendant. (See id. ¶¶ 58, 62).
                                                                  admitted as true for the purpose of testing the sufficiency
                                                                  of [a] plaintiff’s allegations.” (alterations added; internal
The Combined Motion to Dismiss asserts Equifax is not a
CRA under the FCRA, and the claim against Equifax                 quotation marks omitted) (quoting        Aldana v. Del Monte
should be dismissed. (See Mot. 1). The Motion also seeks          Fresh Produce, N.A., Inc., 416 F.3d 1242, 1248 (11th Cir.
dismissal of all Defendants, arguing the Amended                  2005); other citation omitted) ). Moreover, when a Plaintiff
Complaint fails to plead facts sufficient to support a claim      is pro se, a court construes the complaint more liberally
for relief under the FCRA. (See id. 1–2).                         than if it had been drafted by a lawyer. See Abele v. Tolbert,
                                                                  130 Fed.Appx. 342, 343 (11th Cir. 2005).

                                                                  The scope of review on a motion to dismiss under Rule
                                                                  12(b)(6) is limited to the four corners of the complaint. See
                                                                     Speaker v. U.S. Dep’t of Health and Human Servs. Ctrs.

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for Disease Control and Prevention, 623 F.3d 1371, 1379           Defendants rely on multiple federal court decisions holding
(11th Cir. 2010) (citation omitted). But where a plaintiff        Equifax is not a CRA. (See Mot. 5–7 (citing cases) ).
refers to certain documents in the complaint central to his       Defendants also assert Equifax is not a CRA because
claim, those documents are considered part of the pleading        Equifax is the parent holding company of EIS and the
for the purpose of resolving a motion to dismiss. See             Consumer Financial Protection Bureau confirms the
Brooks, 116 F.3d at 1369 (citation omitted). The court “          address listed on Plaintiff’s letter is that of EIS, not
‘may consider an extrinsic document if it is (1) central to       Equifax. (See Reply 2). Defendants also note Plaintiff fails
the plaintiff’s claim, and (2) its authenticity is not            to cite a single decision holding Equifax is a CRA. (See id.
                                                                  2–3).
challenged.’ ”     Speaker, 623 F.3d at 1379 (quoting
SFM Holdings, Ltd. v. Banc of Am. Secs., LLC, 600 F.3d            Plaintiff alleges Equifax is a CRA. (See Am. Compl. ¶¶ 6–
1334, 1337 (11th Cir. 2010); other citation omitted).             8). He argues at a minimum discovery is necessary to
“[W]hen the exhibits contradict the general and conclusory        determine whether Equifax is a CRA, noting the cases on
allegations of the pleading, the exhibits govern.”                which Defendants rely were decided at summary judgment.
Crenshaw v. Lister, 556 F.3d 1283, 1292 (11th Cir. 2009)          (See Resp. 4–5 (citing cases) ).
(alteration added; internal quotation marks and citations
omitted).4                                                        Plaintiff pleads facts sufficient to show Equifax is a CRA
                                                                  at this phase of the litigation. Again, Plaintiff alleges he
                                                                  submitted two requests for his full consumer file
                                                                  disclosures to Equifax and received responses from
                                                                  Equifax. (See Am. Compl. ¶¶ 22–23, 28, 31). Plaintiff
                                                                  further alleges Equifax operates as a seller of credit report
                                                                  information. (See id. ¶¶ 7–8). Plaintiff has thus adequately
                   III. DISCUSSION
                                                                  stated Equifax has for “monetary fees ... regularly
                                                                  engage[d] in ... the practice of assembling or evaluating
                                                                  consumer credit information or other information on
                                                                  consumers for the purpose of furnishing consumer reports
  A. Whether Equifax is a CRA                                     to third parties....” ( 15 U.S.C. § 1681a(f) (alterations
*4 Defendants move to dismiss Plaintiff’s claim against           added) ).
Equifax, contending Equifax is not a CRA under the
FCRA. (See Mot. 4–11).                                            As Plaintiff points out, every case on which Defendants
                                                                  rely in support of this argument was decided at summary
                                                                  judgment. (See Resp. 5 (citing cases) ). For example, in
            The term ‘consumer reporting                          Ransom v. Equifax, Inc., the court held Equifax was not a
            agency’ means any person which,                       CRA, relying on the declaration of one of Equifax’s
            for monetary fees, dues, or on a                      corporate officers—evidence reviewable at summary
            cooperative      nonprofit     basis,                 judgment, but not on a motion to dismiss. No. 09-80280-
            regularly engages in whole or in part                 CIV, 2010 WL 1258084, at *3 (S.D. Fla. Mar. 30, 2010)
            in the practice of assembling or                      (“The [corporate officer’s] declaration establishes that
            evaluating      consumer       credit                 Equifax, Inc. is not a consumer reporting agency.”
            information or other information on                   (alteration added) ).
            consumers for the purpose of
            furnishing consumer reports to third                  Plaintiff relies on Jones v. Equifax (see Resp. 5), in making
            parties, and which uses any means                     his request he be allowed to propound discovery to assist
            or facility of interstate commerce                    in resolving whether Equifax is a CRA. See No. 3:14cv678,
            for the purpose of preparing or                       2015 WL 5092514, at *4 n.11 (E.D. Va. Aug. 27, 2015)
            furnishing consumer reports.                          (rejecting the argument on a motion to dismiss that Equifax
                                                                  is not a CRA, reasoning “every decision cited by Equifax,
                                                                  Inc. was rendered at the summary judgment stage” and the
                                                                  declarations of Equifax’s corporate officers “necessitate
Rodriguez v. Universal Prop. & Cas. Ins. Co., No. 16-             dismissal of this claim” because those “additional
60442, 2016 WL 8678879, at *4 (S.D. Fla. Aug. 19, 2016)           documents on the record further demonstrate[ ] the
(citing   15 U.S.C. § 1681a(f) ).                                 propriety of deciding this issue at summary judgment....”
                                                                  (alterations added; citations omitted) ).

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                                                                  of all information in their files....” (Am. Compl. ¶ 49
*5 Defendants argue Jones is inapposite because Plaintiff         (alteration added) ). According to Plaintiff, Defendants
pleads facts establishing Equifax is not a CRA. (See Reply        “repeatedly refused to provide Plaintiff with his full
2–3). The Court disagrees. In response to Plaintiff’s request     consumer file disclosure after multiple requests” under
for his full consumer file disclosure, Equifax sent Plaintiff     section 1681g(a)(1). (Id. ¶ 41 (emphasis omitted) ).
a letter thanking Plaintiff for “requesting [his] credit file,    Defendants accuse Plaintiff of “merely recit[ing] in
commonly called a Consumer Credit Report.” (Am.                   conclusory fashion that he did not receive a full consumer
Compl. ¶¶ 23, 31; see also Resp. Ex. 2). The letter provides      file disclosure” from Defendants, but instead received a
a reasonable inference that Equifax is a CRA. See, e.g.,          credit report. (Mot. 11 (alteration added; citation omitted)
Wikert v. Wells Fargo Bank, N.A., No. 3:11-cv-00786-J-            ).
37JRK, 2012 WL 333787, at *3 (M.D. Fla. Feb. 1, 2012)
(“Plaintiff attaches to the Complaint ‘Credit Reports’ from       Defendants contend Plaintiff’s claims must be dismissed
[defendant], which, at the very least, support a ‘reasonable      because they gave Plaintiff exactly what he was entitled to
inference’ that [defendant] is a CRA.... Therefore, the           under the FCRA—a full consumer file disclosure. (See id.
Court finds Defendant’s Motion to dismiss is due to be            13–14). Defendants note a credit report, by definition, goes
denied.... Should Defendant have evidence that [it] is not a      to a third party, and not a consumer (see id. 13). Thus, they
CRA, it may present it at a later stage of this litigation.”      state it is not possible for Plaintiff to have received a credit
(alterations added; citation omitted) ).                          report, also known as a consumer report. (See id. 13–14).
                                                                  Plaintiff insists he received only a credit report while
Plaintiff thus pleads sufficient facts to allow him to request    acknowledging the distinction between a credit report and
discovery on whether Equifax is a CRA. See, e.g.,                 a full consumer file disclosure. (See Resp. 16–17).
Rodriguez, 2016 WL 8678879, at *5 (denying defendant’s
motion to dismiss contending plaintiff failed to allege           The parties correctly note the differences between a “file”
defendant was a CRA because “at this stage the Court must         and a “consumer report” under the FCRA. Indeed, there is
accept the truth of Plaintiffs’ plausible allegations and         an “important distinction in ... the difference in the FCRA’s
make all reasonable inferences in Plaintiffs’ favor”);            definitions of the terms ‘consumer report’ and ‘file.’ ”
Marricone v. Experian Info. Sols., Inc., No. 09-cv-1123,          Collins v. Experian Info. Sols., Inc., 775 F.3d 1330, 1334
2009 WL 3245417, at *1 (E.D. Pa. Oct. 6, 2009)                    (11th Cir. 2015) (alteration added). “[T]he term ‘file’,
(“[F]actual discovery will help determine whether                 when used in connection with information on any
Defendants acted as CRAs in this case. Absent binding             consumer, means all of the information on that consumer
case law holding that [Defendants] are not CRAs as a              recorded and retained by a consumer reporting agency
matter of law, Plaintiff’s allegations that Defendants
operated as CRAs survives a 12(b)(6) motion to dismiss.”          regardless of how the information is stored.”            Id. at
(alterations added) ).                                            1334–35 (alteration added; emphasis in original) (quoting
                                                                      15 U.S.C. § 1681(a)(g) ). “A file is simply the
While Defendants’ skepticism of Plaintiff’s allegation            information [on a consumer] retained by a consumer
Equifax is a CRA is well-founded, those concerns are more         reporting agency.”        Id. at 1335 (alteration added). A
appropriately presented and resolved at summary                   “consumer report,” in contrast, is defined as “any written,
judgment. Defendants’ Motion seeking to dismiss                   oral, or other communication of any information by a
Plaintiff’s claim against Equifax on this basis is therefore      consumer reporting agency bearing on a consumer’s credit
denied.5
                                                                  worthiness....”      Id. at 1334 (quoting         15 U.S.C. §
                                                                  1681a(d)(1) (alteration added; emphasis in original) ). “A
                                                                  ‘consumer report’ requires communication to a third party,
                                                                  while a ‘file’ does not.”     Id. at 1335 (citation omitted).

   B. Whether Plaintiff Pleads Facts Sufficient to                *6 Despite the legal distinction between a consumer “file”
   Support a Claim for Relief                                     and a “consumer report,” Plaintiff insists he received
Defendants also seek to dismiss Plaintiff’s claims on the         something less than his full consumer file disclosure. (See
basis Plaintiff fails to state facts sufficient to support a      Resp. 17–19). Yet, according to Defendants, Plaintiff
claim for relief under the FCRA. (See Mot. 11–16). In his         “offers speculative conclusions with no factual basis that
Amended Complaint, Plaintiff alleges Defendants violated          information has been excluded from his consumer file.”
    15 U.S.C. section 1681g(a)(1) when they failed to             (Mot. 14). Defendants point to the “speculative nature of
furnish, upon his request, “a full consumer file disclosure       [Plaintiff’s] statements” that “[o]ne can only surmise” and

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the conclusory allegations Plaintiff makes ‘[u]pon                provided to an unknown third party or MIGHT be provided
information and belief.’ (Id. (alterations added) (quoting        at some time in the future to a third party and he is entitled
Am. Compl. ¶¶ 38–39, 41, 47) ).6                                  by law to review and have access to for accuracy.” (Id.
                                                                  (emphasis in original) ). The words “might” and “may”
While “information and belief” pleading can sometimes             signal Plaintiff is speculating. Tellingly, he alleges “[o]ne
survive a motion to dismiss, a plaintiff must allege specific     can only surmise” the information Defendants share with
facts sufficient to support a claim. See Zhejiang Dushen          third parties “must obviously contain information that the
Necktie Co. v. Blue Med, Inc., No. 16-24679, 2017 WL              consumer has never seen and the consumer reporting
4119604, at *6 (S.D. Fla. Sept. 18, 2017) (“[T]he Twombly         agencies don’t want him or her to see for some unknown
plausibility standard ... does not prevent a plaintiff from       reason.” (Id. ¶ 47 (alteration added) ). Plaintiff simply
pleading facts alleged ‘upon information and belief’ where        claims after the recent hack of Equifax’s database, he has
the belief is based on factual information that makes the         “reason to believe that there was more information,” all the
inference of culpability plausible.” (alterations added;          while acknowledging he has no “direct knowledge” of the
internal quotation marks and citation omitted) ).                 information his full consumer file disclosures might
“Conclusory allegations made upon information and belief          contain. (Id. ¶ 36 (emphasis added) ).
are not entitled to a presumption of truth, and allegations
stated upon information and belief that do not contain any        The speculative guesswork in the Amended Complaint
factual support fail to meet the Twombly standard.”               renders the pleading incapable of withstanding a motion to
Phoenix Entm’t Partners, LLC v. Orlando Beer Garden,              dismiss. See, e.g., Davis v. Capital One Auto Fin., No.
Inc., No. 6:616-cv-80-Orl-31DAB, 2016 WL 1567590, at              1:17-CV-1706-WSD-WEJ, 2017 WL 9477694, at *4 (N.D.
*5 (M.D. Fla. Mar. 30, 2016) (quotation marks and citation        Ga. Aug. 18, 2017) (“Because the Amended Complaint
omitted); see also Barber v. Brasfield & Gorrie, Inc., No.        merely speculates as to the possibility that defendant
2:07-cv-00012-JEO, 2008 WL 11374390, at *4 (N.D. Ala.             violated the FCRA and fails to present ‘enough facts to
Aug. 7, 2008) (citing      Hall v. Bellmon, 935 F.2d 1106,        raise a reasonable expectation that discovery will reveal,’
1109–10 (10th Cir. 1991) ).                                       unlawful conduct, that claim fails as a matter of law.”
                                                                  (citation omitted) ); Edwards v. Auto Showcase Motorcars
The Court agrees with Defendants. Plaintiff fails to allege       of Palm Beach, LLC, No. 09-80932-CIV, 2010 WL
facts sufficient to support his claims Defendants failed to       1524289, at *2 (S.D. Fla. Apr. 14, 2010) (stating “the
disclose his full consumer file disclosure. The Amended           Complaint fails to allege or provide reasonably specific
Complaint is replete with conclusory allegations, made            facts or occurrences sufficient to support a claim under the
upon Plaintiff’s “information and belief,” none of which          FCRA” and the plaintiff’s “guess work does not provide a
are supported by any facts. Plaintiff merely alleges upon         proper basis for bringing suit”); Hinkle, 2012 WL 681468,
information and belief that the following types of                at *2–4 (concluding the amended complaint failed to
information were missing from Defendants’ disclosures:            satisfy Twombly’s pleading standard because its factual
(1) “information that was previously shown in his credit          matter established nothing beyond speculation as to a
reports and additional information that is provided to            violation of the FCRA).
prospective creditors, insurers or employers who request
information on Plaintiff that Plaintiff has never seen or is      The Amended Complaint thus fails to state facts sufficient
aware of” (Am. Compl. ¶ 38); (2) “negative codes among            to support the claims against Defendants.7 Plaintiff must
other things that are provided to prospective creditors,          plead additional facts sufficient to support his claims
insurers or employers” (id. ¶ 39); and (3) “far more              alleging Defendants failed to provide his full consumer file
information relating to Plaintiff in their files and databases    disclosure.
including archived information” (id. ¶ 41).
                                                                  For the foregoing reasons, it is
*7 Plaintiff does not point to what information is actually
missing from what he received from Defendants or what             ORDERED AND ADJUDGED that the Combined
specific facts lead him to accuse Defendants of failing to        Motion to Dismiss [ECF No. 46] is GRANTED. The
meet their disclosure requirements under the FCRA. (See           Amended Complaint [ECF No. 37] is DISMISSED
generally id.; see also Resp.). In fact, Plaintiff admits he is   without prejudice. Plaintiff has until July 12, 2018 to file
not “making any claim whatsoever regarding information            an amended complaint, failing which the case will be
that HAS been provided to a third party....” (Am. Compl. ¶        dismissed. This deadline will not be extended.
43 (emphasis in original; alteration added) ). Rather, he
alleges he is unable to access all information in his full        DONE AND ORDERED in Miami, Florida, this 29th day
consumer file that “may have been at some time in the past        of June, 2018.

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                                                                                   Slip Copy, 2018 WL 3360754
                                                                                    
All Citations


Footnotes 
 
1          Defendant, Experian Information Solutions, Inc. filed a separate Answer and Defenses to Plaintiff’s Amended Complaint [ECF No. 
     
           43] on April 30, 2018, and did  not join Defendants’ Combined Motion  to Dismiss. Count I of the Amended Complaint directed
           against Experian Information Solutions is thus not addressed in this Order. The Court refers to Equifax, EIS, and Trans Union as the 
           “Defendants.” 
            
2          The Court uses the pagination generated by the electronic CM/ECF database, which appears in the headers of all court filings. 
     
            
 
3          Defendants argue in its review of the Motion, the Court cannot consider any exhibits attached to Plaintiff’s Response. (See Reply 
     
           6). The Court is allowed to consider exhibits attached to the Response so long as they were sufficiently referenced in the Amended 
 
           Complaint. See, e.g.,       Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005) (“[A] document need not be physically attached to a
           pleading to be incorporated by reference into it....” (alterations added) ). “[I]f the document’s contents are alleged in a complaint 
           and no party questions those contents, [a court] may consider such a document provided it meets the centrality requirement,”
           which requires the document be “(1) central to the plaintiff’s claim and (2) undisputed.” Id. (alterations added; citations omitted).
           Here,  the  Amended  Complaint  sufficiently  references  Equifax’s  credit  report  as  the  response  to  Plaintiff’s  requests  for  a  full 
           consumer file disclosure. (See generally Am. Compl.). Defendants do not dispute the authenticity of the letter Plaintiff received 
           from Equifax. Additionally, the letter is central to Plaintiff’s Fair Credit Reporting Act (“FCRA”) claims that Defendants failed to 
           disclose his full consumer file disclosure. See Valentine v. Legendary Marine FWB, Inc., No. 3:09cv334/MCR/EMT, 2010 WL 1687738,
           at *2 (N.D. Fla. Apr. 26, 2010) (noting “the fact that the referenced document was attached to the plaintiff’s opposition to the
           motion to dismiss, instead of attached to the complaint ... presents no basis for” not considering the evidence on defendant’s
           motion to dismiss (alteration added) ). 
            
4          Defendants claim the Court should rely on the Rule 9 heightened pleading standard. (See Mot. 3–4, 15). Because Plaintiff does not 
     
           allege fraud (see generally Am. Compl.), the Court reviews the FCRA claims under the Rule 8 pleading standard. 
            
5          Plaintiff argues the Court may pierce Equifax’s corporate veil and find it liable for its subsidiary, EIS’s, FCRA violation. (See Am. 
     
           Compl. ¶¶ 8–14; see also Resp. 5–10). Because Plaintiff adequately pleads Equifax is a CRA, the Court does not reach this argument.
            
6          Plaintiff argues Defendants could not have included everything contained in his full consumer file disclosure in a “disappointing 26 
     
           page file” given Plaintiff’s request for documents from LexisNexis contained “280 pages of information.” (Resp. 18; see also id., Ex. 
           5, LexisNexis Report). The Court will not consider this exhibit in its review of Defendants’ Motion, as Plaintiff did not reference this 
           LexisNexis Report in his Amended Complaint. See, e.g., Lincoln Gen. Ins. Co. v. Stankunas Concrete, Inc., No. 3:10‐cv‐647‐J‐32TEM, 
           2011 WL 2893615, at *2 (M.D. Fla. July 20, 2011) (“The exception that allows the Court to consider documents not attached to the
           complaint  does  not  apply  when  the  [party]  is  requesting  the  Court  [  ]  utilize  documents  not  referenced  in  the  complaint.”
           (alterations added; citation omitted) ). In any event, the document does not shed light on what information is actually missing from 
           what Defendants provided Plaintiff in response to Plaintiff’s request for his full consumer file disclosure. 
            
7          Defendants  also  argue  Plaintiff’s  claims  must  be  dismissed  because  a  “consumer  file”  under  the  FCRA  is  “limited  to  material
     
           included in a consumer report that would be sent to a third party.” (Mot. 12). Because the Court grants Defendants’ Motion, it
           does not address this argument. 
            



 
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